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                                          U.S. Department of Justice

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                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 7, 2021

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

       The Government respectfully submits this letter on behalf of the parties pursuant to the
Court’s Order issued on January 4, 2021 (Dkt. No. 101).

    1. Whether this case should or must be tried before June 30, 2021, or whether trial
       should be adjourned to later.

        The Government has identified no circumstances particular to this case that require the trial
to be held before June 30, 2021. The parties are prepared, however, to proceed to trial on April 26,
2021, subject to the final determination of the Assignment Committee, and the Court’s assessment
of its ability to safely hold in-person proceedings, including jury selection. Should the Court be
inclined to adjourn the trial in light of the ongoing difficulties posed by the COVID-19 pandemic,
the parties have no objection to an adjournment of the trial to a date when the Court anticipates
being able to safely summon a venire and convene a jury trial.

        In determining when to hold the trial in this case, the parties request that the Court take
into account the pending case against the defendant in the Central District of California.
Yesterday, the Honorable James V. Selna, United States District Judge for the Central District of
California, rescheduled the first of two trials to be held in that case from February 23, 2021, to
July 13, 2021. Judge Selna maintained the previously scheduled date for the second trial in that
case of October 12, 2021, but stated that he considered that date to be a “control date.” 1

    2. Whether and when the Court should hold a conference to discuss the matter.

       The parties do not request that the Court hold a conference to discuss the timing of the trial,
although they are available to participate if such a conference would be of assistance to the Court.

1
 In the course of the conference, Judge Selna indicated that he may contact this Court in order to
discuss the timing of the defendant’s trials.
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      3. Whether time should be excluded under the Speedy Trial Act until the next court
         appearance.

         The parties request that, in the event that the Court adjourns the trial to a date after April 26,
2021, the Court exclude time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), until the new
trial date.

                                                         Respectfully submitted,

                                                         AUDREY STRAUSS
                                                         Acting United States Attorney


                                                 By:
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cc:      Robert M. Baum, Esq. (by ECF)
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